Case 2:25-cv-00557-JRG        Document 20       Filed 07/09/25     Page 1 of 3 PageID #: 1038




                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

  NETLIST, INC.,                               )
                                               )
                 Plaintiff,                    )
                                               )
          v.                                   )     Case No. 2:25-cv-557-JRG
                                               )           (Lead Case)
  SAMSUNG ELECTRONICS CO, LTD;                 )
  SAMSUNG ELECTRONICS AMERICA,                 )
  INC.; SAMSUNG SEMICONDUCTOR                  )
                                               )
  INC.,                                        )
                                               )
              Defendants.
  NETLIST, INC.,                  )
                                  )
            Plaintiff,            )
                                  )
       v.                         )                 Case No. 2:25-cv-558-JRG
                                  )                      (Member Case)
  MICRON TECHNOLOGY, INC.; MICRON )
  SEMICONDUCTOR PRODUCTS, INC.; )
  MICRON TECHNOLOGY TEXAS LLC, )
                                  )
           Defendants.            )
                                  )
                                  )

           ORDER GRANTING THE PARTIES’ JOINT MOTION FOR ENTRY OF
                     AGREED EARLY DISCOVERY ORDER

        Before the Court is the Joint Motion for Entry of Agreed Early Discovery (the “Motion”)

 filed by Plaintiffs Netlist, Inc. and Defendants Micron Technology, Inc., Micron Semiconductor

 Products, Inc., and Micron Technology Texas, LLC (collectively, “Defendants” or “Micron”). On

 June 17, 2025, Defendants filed a motion to dismiss (Pre-consolidated Case No. 2:25-cv-558-JRG,

 Dkt. 11) the Complaint (id., Dkt 1), asserting, among other things, improper venue. The parties

 have agreed to extend the briefing schedule and conduct discovery related to venue. Having

 considered the Motion, the Court finds that it should be and hereby is GRANTED. Accordingly,

 it is ORDERED as follows:
Case 2:25-cv-00557-JRG        Document 20          Filed 07/09/25    Page 2 of 3 PageID #: 1039




       1. Plaintiff may serve the following written discovery directed to the propriety of venue in

          this District (which may be served on Defendants collectively, meaning the below

          numbers are totals, but the requests may be directed to multiple Defendants, if

          appropriate):

              a. Up to five (5) requests for production; and

              b. Up to five (5) interrogatories;

       2. Plaintiff may conduct the following depositions for the specified durations, limited to

          issues relating to venue:

              a. A Rule 30(b)(1) deposition of John Becker – limited to 3.5 hours

              b. A Rule 30(b)(1) deposition of a witness identified during venue discovery –

                  limited to 3.5 hours

       3. Defendants reserve the right to seek a protective order, should Plaintiff seek to depose

          a witness who lacks unique personal knowledge regarding venue issues in the case.

       4. Plaintiff shall serve its written discovery within five (5) days of this Order. Defendants

          shall respond within twenty-one (21) days of service of the written discovery.

       5. Any motions to compel written discovery or motions for a protective order shall be filed

          within fourteen (14) days of service of any written objections and responses or

          deposition notices. Discovery disputes shall be governed by section 9 of the Court’s

          model Discovery Order and continue the deadlines herein until resolved.

       6. If no motion to compel or motions for a protective order are filed:

              a. Depositions will be completed by August 22, 2025

              b. Netlist will file its Opposition to Micron’s Motion to dismiss by August 29, 2025

              c. Micron will file its reply by September 15, 2025




                                                   2
Case 2:25-cv-00557-JRG         Document 20         Filed 07/09/25     Page 3 of 3 PageID #: 1040




               d. Netlist will file its sur-reply by September 24, 2025

        7. If a motion to compel or a motion for a protective order is filed:

               a. Depositions shall be conducted within twenty-one (21) days of completion of all

                   written discovery, including any supplements, or the denial of all motions to

                   compel.

               b. Netlist to file its Opposition to Micron’s Motion to dismiss within fourteen (14)

                   days after the completion of the foregoing written and deposition discovery or
  .                the denial of all motions to compel.

               c. Micron to file its Reply in support of its Motion within fourteen (14) days after

                   Netlist files its Opposition.

               d. Netlist to file its sur-reply within nine (9) days after Micron’s Reply

        8. This discovery does not count against any present or future discovery limits in this

           proceeding.


      So ORDERED and SIGNED this 9th day of July, 2025.




                                                          ____________________________________
                                                          RODNEY GILSTRAP
                                                          UNITED STATES DISTRICT JUDGE




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